       Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 1 of 48



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                               )
MICHAEL DARDASHTIAN, individually and on                       ) Case No. 17 CV 4327 (LLS)(RWL)
behalf of COOPER SQUARE VENTURES, LLC                          )
NDAP, LLC and CHANNEL REPLY, LLC1                              )
                                                               )     ANSWER, AFFIRMATIVE
                          Plaintiffs,                          )     DEFENSES, AND
                                                               )     COUNTERCLAIMS OF
        -against-                                              )     DEFENDANTS DAVID
                                                               )     GITMAN, ACCEL
DAVID GITMAN, JEREMY FALK, SUMMIT                              )     COMMERCE, LLC, DALVA
ROCK HOLDINGS, LLC, ACCEL                                      )     VENTURES, LLC AND
COMMERCE, LLC, DALVA VENTURES, LLC,                            )     CHANNELREPLY, INC.
KONSTANTYN BAGAIEV, OLESKSII                                   )
GLUKHAREV and CHANNELREPLY, INC.                               )
                                                               )     JURY DEMAND
                          Defendants.                          )
                                                               )
                                                               )
DAVID GITMAN, individually, and on behalf of                   )
COOPER SQUARE VENTURES, LLC, and                               )
NDAP, LLC                                                      )
          Counterclaim Plaintiffs,                             )
                                                               )
        -against-                                              )
                                                               )
MICHAEL DARDASHTIAN                                            )
                                                               )
                 Counterclaim Defendant.                       )
                                                               )

        Defendants David Gitman (“Gitman”), Accel Commerce, LLC (“Accel”), Dalva

Ventures, LLC (“Dalva”), and ChannelReply, Inc. (“CR Inc.”) (collectively, the “Defendants”),


1
  Counsel notes that the correct spelling of both defendant ChannelReply, Inc. (“CR Inc.”) and plaintiff
ChannelReply, LLC (“CR LLC”) has no space between the words “Channel” and “Reply.” Counsel further notes
that since the filing of this action, CR Inc. has been dissolved pursuant to Court Order, dated June 19, 2017.
      Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 2 of 48



by and through their undersigned counsel, respond to plaintiffs’ Verified Complaint dated June

8, 2017 (the “Complaint”) with the following Answer and Defenses.

                                  DEFENDANTS’ ANSWER

                                            PARTIES

       1.      Defendants deny the allegations in paragraph 1 of the Complaint.

       2.      Defendants deny the allegations in paragraph 2 of the Complaint.

       3.      Defendants deny the allegations in paragraph 3 of the Complaint.

       4.      Defendants deny the allegations in paragraph 4 of the Complaint.

       5.      Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 5 of the Complaint.

       6.      Defendants deny the allegations in paragraph 6 of the Complaint.

       7.      Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 7 of the Complaint.

       8.      Defendants deny the allegations in paragraph 8 of the Complaint.

       9.      Defendants deny the allegations in paragraph 9 of the Complaint.

       10.     Defendants deny the allegations in paragraph 10 of the Complaint.

       11.     Defendants deny the allegations in paragraph 11 of the Complaint.

       12.     Defendants deny the allegations in paragraph 12 of the Complaint.

       13.     Defendants deny the allegations in paragraph 13 of the Complaint.

       14.     Defendants deny the allegations in paragraph 14 of the Complaint.

       15.     Defendants deny the allegations in paragraph 15 of the Complaint.

       16.     Defendants deny the allegations in paragraph 16 of the Complaint.

       17.     Defendants deny the allegations in paragraph 17 of the Complaint.




                                                 2
      Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 3 of 48



                                  JURISDICTION AND VENUE

       18.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 18 of the Complaint.

       19.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 19 of the Complaint.

       20.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 20 of the Complaint.

       21.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 21 of the Complaint.

                              FACTS COMMON TO ALL COUNTS

       22.     Defendants deny the allegations in paragraph 22 of the Complaint.

       23.     Defendants deny the allegations in paragraph 23 of the Complaint, and state that

the terms of the Summit Rock Service Agreement speak for themselves.

       24.     Defendants deny the allegations in paragraph 24 of the Complaint.

       25.     Defendants admit the allegations in paragraph 25 of the Complaint.

       26.     Defendants deny the allegations in paragraph 26 of the Complaint.

       27.     Defendants deny the allegations in paragraph 27 of the Complaint.

       28.     Defendants deny the allegations in paragraph 28 of the Complaint, and state that

the terms of Plaintiff's Aff. Exhibit 59 speak for themselves.

       29.     Defendants deny the allegations in paragraph 29 of the Complaint.

       30.     Defendants deny the allegations in paragraph 30 of the Complaint.

       31.     Defendants deny the allegations in paragraph 31 of the Complaint.

       32.     Defendants are without knowledge or information sufficient to form a belief as to




                                                 3
      Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 4 of 48



the truth of the allegations in paragraph 32 of the Complaint.

       33.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 33 of the Complaint.

       34.     Defendants deny the allegations in paragraph 34 of the Complaint.

       35.     Defendants deny the allegations in paragraph 35 of the Complaint.

       36.     Defendants deny the allegations in paragraph 36 of the Complaint.

       37.     Defendants deny the allegations in paragraph 37 of the Complaint.

       38.     Defendants deny the allegations in paragraph 38 of the Complaint.

       39.     Defendants deny the allegations in paragraph 39 of the Complaint.

       40.     Defendants deny the allegations in paragraph 40 of the Complaint.

       41.     Defendants deny the allegations in paragraph 41 of the Complaint.

       42.     Defendants deny the allegations in paragraph 42 of the Complaint.

       43.     Defendants deny the allegations in paragraph 43 of the Complaint.

       44.     Defendants deny the allegations in paragraph 44 of the Complaint.

       45.     Defendants deny the allegations in paragraph 45 of the Complaint.

       46.     Defendants deny the allegations in paragraph 46 of the Complaint.

       47.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 47 of the Complaint.

       48.     Defendants deny the allegations in paragraph 48 of the Complaint.

       49.     Defendants deny the allegations in paragraph 49 of the Complaint.

       50.     Defendants deny the allegations in paragraph 50 of the Complaint.

       51.     Defendants deny the allegations in paragraph 51 of the Complaint.

       52.     Defendants deny the allegations in paragraph 52 of the Complaint.




                                                 4
Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 5 of 48



 53.   Defendants deny the allegations in paragraph 53 of the Complaint.

 54.   Defendants deny the allegations in paragraph 54 of the Complaint.

 55.   Defendants deny the allegations in paragraph 55 of the Complaint.

 56.   Defendants deny the allegations in paragraph 56 of the Complaint.

 57.   Defendants deny the allegations in paragraph 57 of the Complaint.

 58.   Defendants deny the allegations in paragraph 58 of the Complaint.

 59.   Defendants deny the allegations in paragraph 59 of the Complaint.

 60.   Defendants deny the allegations in paragraph 60 of the Complaint.

 61.   Defendants deny the allegations in paragraph 61 of the Complaint.

 62.   Defendants deny the allegations in paragraph 62 of the Complaint.

 63.   Defendants deny the allegations in paragraph 63 of the Complaint.

 64.   Defendants deny the allegations in paragraph 64 of the Complaint.

 65.   Defendants deny the allegations in paragraph 65 of the Complaint.

 66.   Defendants deny the allegations in paragraph 66 of the Complaint.

 67.   Defendants deny the allegations in paragraph 67 of the Complaint.

 68.   Defendants deny the allegations in paragraph 68 of the Complaint.

 69.   Defendants deny the allegations in paragraph 69 of the Complaint.

 70.   Defendants deny the allegations in paragraph 70 of the Complaint.

 71.   Defendants deny the allegations in paragraph 71 of the Complaint.

 72.   Defendants deny the allegations in paragraph 72 of the Complaint.

 73.   Defendants deny the allegations in paragraph 73 of the Complaint.

 74.   Defendants deny the allegations in paragraph 74 of the Complaint.

 75.   Defendants deny the allegations in paragraph 75 of the Complaint.




                                       5
      Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 6 of 48



       76.     Defendants deny the allegations in paragraph 76 of the Complaint.

       77.     Defendants deny the allegations in paragraph 77 of the Complaint.

       78.     Defendants deny the allegations in paragraph 78 of the Complaint.

       79.     Defendants deny the allegations in paragraph 79 of the Complaint.

       80.     Defendants deny the allegations in paragraph 80 of the Complaint.

       81.     Defendants deny the allegations in paragraph 81 of the Complaint.

       82.     Defendants deny the allegations in paragraph 82 of the Complaint.

       83.     Defendants deny the allegations in paragraph 83 of the Complaint.

       84.     Defendants deny the allegations in paragraph 84 of the Complaint.

       85.     Defendants deny the allegations in paragraph 85 of the Complaint.

       86.     Defendants deny the allegations in paragraph 86 of the Complaint.

       87.     Defendants deny the allegations in paragraph 87 of the Complaint.

       88.     Defendants deny the allegations in paragraph 88 of the Complaint.

       89.     Defendants deny the allegations in paragraph 89 of the Complaint.

       90.     Defendants deny the allegations in paragraph 90 of the Complaint.

       91.     Defendants deny the allegations in paragraph 91 of the Complaint.

       92.     Defendants deny the allegations in paragraph 92 of the Complaint.

       93.     Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 93 of the Complaint.

       94.     Defendants deny the allegations in paragraph 94 of the Complaint.

       95.     Defendants deny the allegations in paragraph 95 of the Complaint.

       96.     Defendants deny the allegations in paragraph 96 of the Complaint.

       97.     Defendants deny the allegations in paragraph 97 of the Complaint.




                                                 6
      Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 7 of 48



       98.     Defendants deny the allegations in paragraph 98 of the Complaint.

       99.     Defendants deny the allegations in paragraph 99 of the Complaint.

       100.    Defendants deny the allegations in paragraph 100 of the Complaint.

       101.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 101 of the Complaint.

       102.    Defendants deny the allegations in paragraph 102 of the Complaint.

       103.    Defendants deny the allegations in paragraph 103 of the Complaint.

       104.    Defendants deny the allegations in paragraph 104 of the Complaint.

       105.    Defendants deny the allegations in paragraph 105 of the Complaint.

       106.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 106 of the Complaint.

       107.    Defendants deny the allegations contained in paragraph 107 of the Complaint.

       108.    Defendants admit the allegations in paragraph 108 of the Complaint.

       109.    Defendants deny the allegations in paragraph 109 of the Complaint.

                                            COUNT 1

                  INJUNCTIVE RELIEF AGAINST ALL DEFENDANTS

       110.    Answering paragraph 110, Defendants repeat their answers to paragraphs 1

through 109 as though fully set forth at length herein.

       111.    In response to paragraph 111, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count One of the

Complaint as to Defendants.

       112.    In response to paragraph 112, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count One of the




                                                 7
      Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 8 of 48



Complaint as to Defendants.

       113.    In response to paragraph 113, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count One of the

Complaint as to Defendants.

       114.    In response to paragraph 114, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count One of the

Complaint as to Defendants.

       115.    In response to paragraph 111, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count One of the

Complaint as to Defendants.

        In response to the “Whereas” clause of Count One of the Complaint, Defendants state

that no answer is required in light of the Court’s Opinion and Order, dated November 28, 2017,

dismissing Count One of the Complaint.

                                             COUNT 2

                     BREACH OF FIDUCIARY DUTY AS TO GITMAN

       116.    Answering paragraph 116, Gitman repeats his answers to paragraphs 1 through

115 as though fully set forth at length herein.

       117.    Gitman denies the allegations in paragraph 117 of the Complaint.

       118.    Gitman denies the allegations in paragraph 118 of the Complaint.

       119.    Gitman denies the allegations in paragraph 119 of the Complaint.

       120.    Gitman denies the allegations in paragraph 120 of the Complaint.

       121.    Gitman denies the allegations in paragraph 121 of the Complaint.

       122.    Gitman denies the allegations in paragraph 122 of the Complaint.




                                                  8
      Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 9 of 48



       Gitman denies that Plaintiffs are entitled to any of the relief sought in the “Wherefore”

clause of Count Two of the Complaint.

                                            COUNT 3

         BREACH OF FIDUCIARY DUTY AS TO FALK AND SUMMIT ROCK

       123.    Answering paragraph 123, Defendants repeats their answers to paragraphs 1

through 122 as though fully set forth at length herein.

       124.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 124 of the Complaint.

       125.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 125 of the Complaint.

       Defendants deny that Plaintiffs are entitled to any of the relief sought in the “Wherefore”

clause of Count Three of the Complaint.

                                            COUNT 4

              AIDING AND ABETTING BREACH OF FIDUCIARY DUTIES
                           AS TO ALL DEFENDANTS

       126.    Answering paragraph 126, Defendants repeats their answers to paragraphs 1

through 125 as though fully set forth at length herein.

       127.    Defendants deny the allegations in paragraph 127 of the Complaint.

       128.    Defendants deny the allegations in paragraph 128 of the Complaint.

       129.    Defendants deny the allegations in paragraph 129 of the Complaint.

       130.    Defendants deny the allegations in paragraph 130 of the Complaint.

       Defendants deny that Plaintiffs are entitled to any of the relief sought in the “Wherefore”

clause of Count Four of the Complaint.




                                                 9
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 10 of 48



                                            COUNT 5

              VIOLATION OF 18 USC 1832 AND 18 USC 1836 AGAINST
           GITMAN, FALK, BAGAIEV, GLUHAREV, ACCEL COMMERCE,
           DALVA VENTURES, AND DEFENDANT CHANNEL REPLY, INC.

       131.    Answering paragraph 131, Defendants repeats their answers to paragraphs 1

through 130 as though fully set forth at length herein.

       132.    Defendants deny the allegations in paragraph 132 of the Complaint.

       133.    Defendants deny the allegations in paragraph 133 of the Complaint.

       134.    Defendants deny the allegations in paragraph 134 of the Complaint.

       135.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of the allegations in paragraph 135 of the Complaint.

       136.    Defendants deny the allegations in paragraph 136 of the Complaint.

       Defendants deny that Plaintiffs are entitled to any of the relief sought in the “Wherefore”

clause of Count Five of the Complaint.

                                            COUNT 6

          INJUNCTIVE RELIEF PURSUANT TO 18 USC 1836(b)(3) AGAINST
          GITMAN, FALK, BAGAIEV, GLUKHAREV, ACCEL COMMERCE
                   AND DEFENDANT CHANNEL REPLY, INC.

       137.    In response to paragraph 137, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Six of the

Complaint as to Defendants.

       138.    In response to paragraph 138, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Six of the

Complaint as to Defendants.

       139.    In response to paragraph 139, Defendants state that no answer is required in light




                                                10
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 11 of 48



of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Six of the

Complaint as to Defendants.

       140.    In response to paragraph 140, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Six of the

Complaint as to Defendants.

       141.    In response to paragraph 141, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Six of the

Complaint as to Defendants.

       In response to the “Whereas” clause of Count Six of the Complaint, Defendants state that

no answer is required in light of the Court’s Opinion and Order, dated November 28, 2017,

dismissing Count Six of the Complaint.

                                             COUNT 7

                       BREACH OF CONTRACT AGAINST GITMAN

       142.    Answering paragraph 142, Gitman repeats his answers to paragraphs 1 through

141 as though fully set forth at length herein.

       143.    Gitman denies the allegations in paragraph 143 of the Complaint, and states that

the terms of the CSV Operating Agreement speak for themselves.

       144.    Gitman denies the allegations in paragraph 144 of the Complaint.

       145.    Gitman denies the allegations in paragraph 145 of the Complaint, states that the

terms of the CSV Operating Agreement speak for themselves.

       146.    Gitman denies the allegations in paragraph 146 of the Complaint.

       147.    Gitman denies the allegations in paragraph 147 of the Complaint.

       148.    Gitman denies the allegations in paragraph 148 of the Complaint.




                                                  11
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 12 of 48



       149.    Gitman denies the allegations in paragraph 149 of the Complaint, states that the

terms of the CSV Operating Agreement speak for themselves.

       Gitman denies that Plaintiffs are entitled to any of the relief sought in the “Wherefore”

       clause of Count Seven of the Complaint.

                                             COUNT 8

                 UNJUST ENRICHMENT AGAINST ALL DEFENDANTS

       150.    Answering paragraph 150, Defendants repeat the answers to paragraphs 1 through

149 as though fully set forth at length herein.

       151.    Defendants deny the allegations in paragraph 151 of the Complaint.

       152.    Defendants deny the allegations in paragraph 152 of the Complaint.

       153.    Defendants deny the allegations in paragraph 153 of the Complaint.

       Defendants deny that Plaintiffs are entitled to any of the relief sought in the “Wherefore”

clause of Count Eight of the Complaint.

                                             COUNT 9

                        BREACH OF COVENANT OF GOOD FAITH
                         AND FAIR DEALING AGAINST GITMAN

       154.    Answering paragraph 154, Gitman repeats his answers to paragraphs 1 through

153 as though fully set forth at length herein.

       155.    The allegations contained in paragraph 155 of the Complaint contain legal

conclusions to which no response is required. To the extent a response is required, Gitman

denies the allegations in paragraph 155 of the Complaint.

       156.    Gitman denies the allegations in paragraph 156 of the Complaint.

       157.    Gitman denies the allegations in paragraph 157 of the Complaint.

       Gitman denies that Plaintiffs are entitled to any of the relief sought in the “Wherefore”



                                                  12
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 13 of 48



clause of Count Nine of the Complaint.

                                            COUNT 10

                                          CONVERSION

       158.    Answering paragraph 158, Gitman repeats his answers to paragraphs 1 through

157 as though fully set forth at length herein

       159.    Gitman admits the allegations in paragraph 159 of the Complaint.

       160.    Gitman denies the allegations in paragraph 160 of the Complaint.

       161.    Gitman denies the allegations in paragraph 161 of the Complaint, and states that

the bank account records speak for themselves.

       162.    Gitman denies the allegations in paragraph 162 of the Complaint.

       163.    Gitman denies the allegations in paragraph 163 of the Complaint.

       164.    Gitman denies the allegations in paragraph 164 of the Complaint.

       165.    Gitman denies the allegations in paragraph 165 of the Complaint.

       166.    Gitman denies the allegations in paragraph 166 of the Complaint.

       Gitman denies that Plaintiffs are entitled to any of the relief sought in the “Wherefore”

clause of Count Ten of the Complaint.

                                            COUNT 11

         CIVIL CONSPIRACY AS TO FALK, ACCEL COMMERCE, BAGAIEV,
          GLUKHAREV, DALVA VENTURES, AND CHANNEL REPLY, INC.
                       AS TO GITMAN’S CONVERSION

       167.    Answering paragraph 167, Defendants repeat the answers to paragraphs 1 through

166 as though fully set forth at length herein.

       168.    Defendants deny the allegations in paragraph 168 of the Complaint.

       169.    Defendants deny the allegations in paragraph 169 of the Complaint.

       170.    Defendants deny the allegations in paragraph 170 of the Complaint.


                                                  13
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 14 of 48



       171.     Defendants deny the allegations in paragraph 171 of the Complaint.

       Defendants deny that Plaintiffs are entitled to any of the relief sought in the “Wherefore”

clause of Count Eleven of the Complaint.

                                           COUNT 12

              FALSE DESIGNATION/ UNFAIR COMPETITION 15 U.S.C. 1125
              AGAINST GITMAN AND DEFENDANT CHANNEL REPLY, INC.

       172.     Answering paragraph 172, Defendants Gitman and CR Inc. repeat the answers to

paragraphs 1 through 171 as though fully set forth at length herein.

       173.     Defendants Gitman and CR Inc. deny the allegations in paragraph 173 of the

Complaint.

       174.     Defendants Gitman and CR Inc. deny the allegations in paragraph 174 of the

Complaint.

       175.     Defendants Gitman and CR Inc. deny the allegations in paragraph 175 of the

Complaint.

       176.     Defendants Gitman and CR Inc. deny the allegations in paragraph 176 of the

Complaint.

       177.     Defendants Gitman and CR Inc. deny the allegations in paragraph 177 of the

Complaint.

       178.     Defendants Gitman and CR Inc. deny the allegations in paragraph 178 of the

Complaint.

       179.     The allegations contained in paragraph 179 of the Complaint contain legal

conclusions to which no response is required, and refer to the Court’s Order, dated June 19,

2017. To the extent a response is required, Defendants Gitman and CR Inc. deny the allegations

contained in paragraph 179 of the Complaint.



                                                14
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 15 of 48



       180.   Defendants Gitman and CR Inc. deny the allegations contained in paragraph 180

of the Complaint.

       Defendants Gitman and CR Inc. deny that Plaintiffs are entitled to any of the relief sought

in the “Wherefore” clause of Count Twelve of the Complaint.

                                          COUNT 13

                              COMPUTER FRAUD 18 USC § 1030

       181.   In response to paragraph 181, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Thirteen of the

Complaint as to Defendants.

       182.   In response to paragraph 182, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Thirteen of the

Complaint as to Defendants.

       183.   In response to paragraph 183, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Thirteen of the

Complaint as to Defendants.

       184.   In response to paragraph 184, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Thirteen of the

Complaint as to Defendants.

       185.   In response to paragraph 185, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Thirteen of the

Complaint as to Defendants.

       186.   In response to paragraph 186, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Thirteen of the

Complaint as to Defendants.


                                               15
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 16 of 48



       187.    In response to paragraph 187, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Thirteen of the

Complaint as to Defendants.

       188.    In response to paragraph 188, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Thirteen of the

Complaint as to Defendants.

       189.    In response to paragraph 189, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Thirteen of the

Complaint as to Defendants.

       In response to the “Wherefore” clause, Defendants state that no answer is required in

light of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Thirteen of

the Complaint as to Defendants.

                                           COUNT 14

         CIVIL CONSPIRACY AS TO FALK, ACCEL COMMERCE, BAGAIEV,
          GLUKHAREV, DALVA VENTURES, AND CHANNEL REPLY, INC.
                 AS TO GITMAN’S VIOLATION OF 18 USC § 1030

       190.    In response to paragraph 190, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Thirteen of the

Complaint as to Defendants, and therefore Count Fourteen, which is dependent on Count

Thirteen. To the extent an answer is required, Defendants repeat the answers to paragraphs 1

through 189 as though fully set forth at length herein.

       191.    In response to paragraph 191, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Thirteen of the

Complaint as to Defendants, and therefore Count Fourteen, which is dependent on Count

Thirteen. To the extent an answer is required, Defendants deny the allegations contained in


                                                16
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 17 of 48



paragraph 191.

       192.      In response to paragraph 192, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Thirteen of the

Complaint as to Defendants, and therefore Count Fourteen, which is dependent on Count

Thirteen. To the extent an answer is required, Defendants deny the allegations contained in

paragraph 192.

       193.      In response to paragraph 193, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Thirteen of the

Complaint as to Defendants, and therefore Count Fourteen, which is dependent on Count

Thirteen. To the extent an answer is required, Defendants deny the allegations contained in

paragraph 193.

       194.      In response to paragraph 194, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Thirteen of the

Complaint as to Defendants, and therefore Count Fourteen, which is dependent on Count

Thirteen. To the extent an answer is required, Defendants deny the allegations contained in

paragraph 194.

       In response to the “Wherefore” clause, Defendants state that no answer is required in

light of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Thirteen of

the Complaint as to Defendants, and therefore Count Fourteen, which is dependent on Count

Thirteen, Defendants deny that Plaintiffs are entitled to any of the relief sought in the

“Wherefore” clause of Count Fourteen of the Complaint.




                                                 17
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 18 of 48



                                            COUNT 15

    TORTIOUS INTERFERENCE WITH PROSPECTIVE BUSINESS ADVANTAGE
    AGAINST GITMAN, FALK, ACCEL COMMERCE, BAGAIEV, GLUKHAREV,
              DALVA VENTURES, AND CHANNEL REPLY, INC.

       195.     Answering paragraph 195, Defendants repeat the answers to paragraphs 1

through 194 as though fully set forth at length herein.

       196.    Defendants deny the allegations in paragraph 196 of the Complaint.

       197.    Defendants deny the allegations in paragraph 197 of the Complaint.

       198.    Defendants deny the allegations in paragraph 198 of the Complaint.

       199.    Defendants deny the allegations in paragraph 199 of the Complaint.

       200.    Defendants deny the allegations in paragraph 200 of the Complaint.

       Defendants deny that Plaintiffs are entitled to any of the relief sought in the “Wherefore”

clause of Count Fifteen of the Complaint.

                                            COUNT 16

                                    DEFAMATION PER SE

       201.    Answering paragraph 201, Gitman repeats the answers to paragraphs 1 through

200 as though fully set forth at length herein.

       202.    Gitman denies the allegations in paragraph 202 of the Complaint.

       203.    Gitman denies the allegations in paragraph 203 of the Complaint.

       204.     Gitman is without knowledge or information sufficient to form a belief as to the

truth of the allegations in paragraph 204 of the Complaint.

       205.     Gitman denies the allegations in paragraph 205 of the Complaint, except admits

that he stated his opinion to Bagaiev that Dardashtian was a “bully.”

       206.    Gitman denies the allegations in paragraph 206 of the Complaint.

       207.    Gitman denies the allegations in paragraph 207 of the Complaint.


                                                  18
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 19 of 48



       Gitman denies that Plaintiff Dardashtian is entitled to any of the relief sought in the

“Wherefore” clause of Count Sixteen of the Complaint.

                                           COUNT 17

               IDENTITY THEFT: NY CLS BUS 380-S AGAINST GITMAN

       208.    In response to paragraph 208, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Seventeen of the

Complaint as to Defendants.

       209.    In response to paragraph 209, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Seventeen of the

Complaint as to Defendants.

       210.    In response to paragraph 210, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Seventeen of the

Complaint as to Defendants.

       211.     In response to paragraph 211, Defendants state that no answer is required in light

of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Seventeen of the

Complaint as to Defendants.

       In response to the “Wherefore” clause, Defendants state that no answer is required in

light of the Court’s Opinion and Order, dated November 28, 2017, dismissing Count Seventeen

of the Complaint as to Defendants.

                                           COUNT 18

                   UNFAIR COMPETITION AS TO ALL DEFENDANTS
                          UNDER NEW YORK STATE LAW

       212.     Answering paragraph 212, Defendants repeat the answers to paragraphs 1

through 211 as though fully set forth at length herein.



                                                19
        Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 20 of 48



           213.     Defendants deny the allegations in paragraph 213 of the Complaint.

           214.     Defendants deny the allegations in paragraph 214 of the Complaint.

           Defendants deny that Plaintiffs are entitled to any of the relief sought in the “Wherefore”

clause of Count Eighteen of the Complaint.

                                                    COUNT 19

      MISAPPROPRIATION OF TRADE SECRETS UNDER NEW YORK STATE LAW

           215.     Answering paragraph 215, Defendants repeat the answers to paragraphs 1 through

214 as though fully set forth at length herein.

           216.     Defendants deny the allegations in paragraph 216 of the Complaint.

           217.     Defendants deny the allegations in paragraph 217 of the Complaint.

           218.     Defendants deny the allegations in paragraph 218 of the Complaint.

           219.     Defendants deny the allegations in paragraph 219 of the Complaint.

           Defendants deny that Plaintiffs are entitled to any of the relief sought in the “Wherefore”

clause of Count Nineteen of the Complaint.

                               AFFIRMATIVE AND OTHER DEFENSES2

                                                FIRST DEFENSE

           Plaintiffs fail to state a claim upon which relief can be granted.

                                              SECOND DEFENSE

           Plaintiffs’ claims are barred in whole or in part by the applicable statute of limitations

and, subject to proof through discovery, Plaintiffs do not establish any continuing violation.

                                                THIRD DEFENSE

           Plaintiffs’ claims are barred in whole or in part by the doctrine of laches.



2
    Defendants do not assume the burden of proof or production that they would not otherwise have as a matter of law.


                                                          20
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 21 of 48



                                       FOURTH DEFENSE

       Plaintiffs have failed to sufficiently mitigate their damages, if any.

                                        FIFTH DEFENSE

       Plaintiffs’ claims are barred in whole or in part by the doctrines of estoppel, quasi-

estoppel, and/or equitable estoppel.

                                        SIXTH DEFENSE

       Plaintiffs’ claims are barred in whole or in part by the after-acquired evidence doctrine.

                                       SEVENTH DEFENSE

       Plaintiffs’ own culpable conduct caused, in whole or in part, whatever damages they may

have suffered.

                                        EIGHTH DEFENSE

       To the extent Plaintiffs have suffered any damages, such damages are not attributable to

any alleged breaches or wrongdoing by Defendants.

                                        NINTH DEFENSE

       Defendants breached no duty, contractual or otherwise, to Plaintiffs.

                                        TENTH DEFENSE

       At all times relevant hereto, Defendants complied with all applicable laws, regulations,

and standards.

                                       ELEVENTH DEFENSE

       Plaintiffs are not entitled to punitive damages in that (i) Plaintiffs cannot demonstrate

malice, actual participation in unlawful acts or reckless indifference; and (ii) Plaintiffs cannot

impute liability for punitive damages to Defendants because of their comprehensive good-faith

efforts to comply with all laws.



                                                 21
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 22 of 48



                                     TWELFTH DEFENSE

       The United States and New York Constitutions, and/or the laws under which this action

purports to be brought bars Plaintiffs’ claims for punitive damages, in whole or in part.

                                   THIRTEENTH DEFENSE

       All actions taken or omitted by Defendants with respect to Plaintiffs were taken or

omitted in good faith, without any malice, evil motives, callous indifference, reckless

indifference, or willfulness.

                                  FOURTEENTH DEFENSE

       Plaintiffs’ alleged damages are speculative and not recoverable.

                                    FIFTEENTH DEFENSE

       Plaintiffs’ defamation claims are barred in whole or in part because they constitute

opinion speech and/or constitute true statements.

                                    SIXTEENTH DEFENSE

       Plaintiffs’ claims are barred in whole or in part because Plaintiffs lack the legal authority

to bring them.

                                  SEVENTEENTH DEFENSE

       Plaintiffs’ claims are barred in whole or in part by the doctrine of waiver.

                                  EIGHTEENTH DEFENSE

       Plaintiffs’ claims are barred in whole or in part by the doctrine of unclean hands.

                                   NINETEENTH DEFENSE

       Defendants assert all affirmative and other defenses available to them under the state law,

common law, and otherwise.




                                                22
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 23 of 48



                                        COUNTERCLAIMS

       Defendant/Counterclaimant Gitman files the following Counterclaims, individually and

on behalf of Cooper Square Ventures, LLC (“CSV”) and NDAP, LLC (“NDAP”) (together,

“Counterclaim Plaintiffs”) against plaintiff/counterclaim defendant Michael Dardashtian

(“Dardashtian”).

                                             PARTIES

       1.        Counterclaim plaintiff David Gitman is an individual who owns a fifty-percent

(50%) membership interest in CSV, and who is a resident of Kings County, New York. Gitman

is a 2016 and 2017 IBM Cloud Champion, Amazon Web Service Certified Solutions

Architect and Magento Certified Solution Specialist with decades of experience in e-commerce.

       2.        Counterclaim plaintiff CSV is a New York limited liability company with a

principal place of business located at 1010 Northern Blvd, Suite 208, Great Neck, NY 11021.

       3.        Counterclaim plaintiff NDAP is a wholly owned subsidiary of CSV that was

engaged in the online sale of automobile parts to customers. The assets of NDAP were sold on

July 28, 2017.

       4.        Counterclaim defendant Michael Dardashtian is an individual who owns a fifty-

percent (50%) membership interest in CSV, and who resides at 21 Canterbury Rd, Apt 3, Great

Neck, New York, 11021.

                                  JURISDICTION AND VENUE

       5.        This Court has subject matter jurisdiction with respect to these counterclaims

pursuant to 28 U.S.C. § 1367 and based upon the doctrine of supplemental jurisdiction.

       6.        Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) as all parties to the

Counterclaims reside within the jurisdiction of this Court or regularly conduct business within

this Court’s jurisdiction.


                                                  23
      Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 24 of 48



        7.     As set forth herein, Dardashtian breached his fiduciary duties to Gitman,

individually, and to CSV and NDAP, and also misappropriated confidential and/or proprietary

information of the counterclaim plaintiff entities.

        8.     Prior to bringing the derivative counterclaims on behalf of CSV and NDAP,

Gitman did not make a demand to bring such counterclaims on the managers (Dardashtian and

himself) of the entities because such a demand would have been futile given Dardashtian’s

claims in this lawsuit and the nature of the derivative counterclaims against Dardashtian.

        9.     As the required demand would have been futile, Gitman was not required to make

such a demand prior to filing the derivative counterclaims on behalf of the counterclaim plaintiff

entities.

                                   STATEMENT OF FACTS

                             Dardashtian and Gitman Create CSV

        10.    Dardashtian and Gitman are each managing members of CSV. They both made

initial capital contributions of $500 each on October 18, 2011.

        11.    CSV is a holding company for eCommerce websites and owns the following

internet domain names: channelgento.com, coopersquare.ventures, coopersquareventures.com,

saasecomerce.com, speckify.com, wholsesaledash.co, and wholesaledash.net.

        12.    CSV’s business operations utilize licensed software and services, open source

software with varying licenses such as GNU or MIT, and software developed by both Gitman

and independent contractors.

        13.    From 2011 through the first quarter of 2016, Gitman worked full time on CSV

and its businesses including, among others, NDAP.




                                                 24
      Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 25 of 48



        14.     Some of the other CSV-related businesses Gitman worked on from 2011 through

the first quarter of 2016 are Plumburs, LLC (“Plumburs”), Sigmento (M.C. Commerce Ltd.)

(“Sigmento”), and Quick Ship Today, LLC ("Quick Ship").

        15.     Dardashtian controlled the company finances for all of these entities.

        16.     In addition to being a co-founder, Gitman is also the Chief Technology Officer

(“CTO”) of CSV and is also in charge of product strategy, development and operations for CSV

and its related entities.

        17.     Dardashtian is responsible for sales, marketing, legal, and finance for all of the

entities.

        18.     On October 13, 2011, Dardashtian and Gitman opened a business checking

account at Bank of America under the name Cooper Square Ventures, LLC.

        19.     When they were paid for their work as employees of CSV, upon information and

belief, Dardashtian and Gitman were paid through CSV payroll which was run through CSV’s

Bank of America bank account.

        20.     Upon information and belief, Dardashtian took payments from CSV and/or

NDAP from 2011 to February 2015.

        21.     While Gitman also received payments from CSV and/or NDAP during this time,

he did, and does, not know if he received payments equal to those taken by Dardashtian.

        22.     As CSV began to grow, Gitman asked Dardashtian to see the books and records to

gauge how well the business was performing and to determine if the payments being made to

them were equal. Gitman first requested this information from the company’s then accountant,

Greg Frayman (“Frayman”), on November 1, 2016 after noticing Dardashtian had not been

keeping the financial books of CSV up to date for some time.




                                                 25
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 26 of 48



       23.    However, upon information and belief, Dardashtian blocked Frayman from

providing Gitman with the requested accounting. This caused Gitman to become concerned that

he and Dardashtian were not receiving equal payments and expense reimbursements.

       24.    On January 23, 2017, Gitman requested that Frayman provide him with

Administrator access to the company’s accounting software where the company’s financial

books and records were maintained.

       25.    That same day, Frayman asked Dardashtian to approve Gitman’s request. Upon

information and belief, Dardashtian did not approve Gitman’s request for Administrator access

to the company’s books and records.

       26.    Gitman then attempted to have a bookkeeper review the books and records of the

company. However, as set forth below, Dardashtian refused to consent to having the bookkeeper

review the books and records.

                        Gitman Developed the Technology for NDAP

       27.    NDAP was formed in May 2011 as a wholly owned subsidiary of CSV by Gitman

and Dardashtian for the purpose of creating an e-commerce software platform to sell and

distribute auto parts online under the name “Next Day Auto Parts,” later rebranded as “Car Part

Kings” (“CPK”).

       28.    On or about September 1, 2011, on behalf of CSV, Gitman retained Alice Fritz

(“Fritz”) to work as a developer for NDAP.

       29.    On March 15, 2012, on behalf of NDAP, Gitman retained Konstantyn Bagaiev

(“Bagaiev”) as an independent contractor to work for NDAP in order to help Gitman develop a

script to answer eBay messages.




                                               26
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 27 of 48



       30.     On or about April 1, 2015, on behalf of NDAP, Gitman retained Oleskii

Glukharev (“Glukharev”) as an independent contractor to work as a developer on the NDAP

project along with Bagaiev and Fritz.

       31.     Gitman’s work on NDAP was substantial. Gitman created all of NDAP’s

business and technology processes with little to no involvement from Dardashtian including the

Magento ecommerce platform, Pentaho Data Integration platform, warehouse distributor

integration, user experience design, user interface design, multichannel catalog and inventory

and pricing, creation and management of billions of landing pages, search engine optimization,

search engine marketing, pricing tools and algorithms, marketing price protection, fraud

detection, tax compliance, structured data validation, image validation, order routing, cross

boarder fulfillment, order reconciliation, quality assurance, system administration, performance

optimization, reporting and analytics.

       32.     Dardashtian was supposed to lead NDAP’s sales and marketing efforts. However,

he never created an outbound sales and marketing program for NDAP.

       33.     On or about July 28, 2017, certain assets of NDAP were sold to Meridian Rack &

Pinion, Inc. for a total purchase price of $450,000. The assets of NDAP that were sold were

technology products created by Gitman.

Gitman and the Developers Built a Platform and Suite of Products Called ChannelReply.
Dardashtian Did Not Contribute to the Creation or Growth of the ChannelReply Platform
   or Products and, therefore, Dardashtian’s Ownership Interest in the ChannelReply
                       Platform and Products, If Any, Is Minimal

       34.     Although plaintiff ChannelReply, LLC is a New York Limited Liability

Company, it has never actually conducted any business. ChannelReply, LLC is not the owner of

the platform and suites of products known as “ChannelReply” as explained below. Rather, the




                                                27
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 28 of 48



ChannelReply platform and suites of products resulted from a joint venture consisting of Gitman,

CSV, Bagaiev, and Glukharev.

       35.     Gitman had developed the idea for ChannelReply in or about early 2014 and

registered the domain name www.ChannelReply.com on May 12, 2014. As stated on the

ChannelReply website, the ChannelReply platform “integrates marketplace customer service

messages and order information with the Helpdesk of your choice.”

       36.     In August 2015, December 2016 and June 2017, Gitman went to Ukraine to meet

with the Developers in person. Together they worked on the roadmap for the ChannelReply

project and discussed different ways to build it. They developed plans that included creating a

ChannelReply application (“App”) for Zendesk, a customer service platform. Before that, the

ChannelReply products did not include an App.

       37.     The development of the ChannelReply App was a pivotal development as most of

the sales generated by the ChannelReply platform come from the Zendesk App.

       38.     Gitman and Bagaiev also built an Amazon integration which has been the main

source of growth for the ChannelReply product line.

       39.     The idea and architecture for the ChannelReply platform, products and business

was created by Gitman with no involvement by Dardashtian. The ChannelReply platform and

products were developed by Gitman and Bagaiev.

       40.     Gitman was responsible for the ChannelReply products and infrastructure and

Bagaiev was responsible for the software coding that went into the creation of the ChannelReply

platform and products. Dardashtian was responsible for little, if any, sales generated by the

ChannelReply platform, products or the successful implementations of the product.




                                                28
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 29 of 48



        41.    Dardashtian made no material contributions to the growth of the ChannelReply

platform or products.

        42.    Dardashtian was also unable to develop new ChannelReply product features,

failed to negotiate an Amazon India account for ChannelReply service, and was unable to

negotiate a contract with Salesforce, Zendesk, Freshdesk, Amazon or eBay.

 Dardashtian’s Lack of Involvement in CSV and its Related Businesses Damaged Gitman

        43.    Because of Dardashtian’s inaction, Dardashtian lost the Plumburs’ eBay seller

account; an account the businesses needed to continue operating. Furthermore, many customer

issues and new features were frozen due to Dardashtian’s lack of basic action.

        44.    An eBay seller account is required to support customers, fix software bugs, and

implement new features. The Plumburs’ eBay account was suspended because Dardashtian did

not do any basic work to ensure it met certain required minimum seller performance standards,

such as responding to emails from eBay about issues with the account. This caused irreparable

harm to both the business and reputations of, among others, CSV, Plumburs, LLC and Gitman.

        45.    Gitman’s personal eBay account was also suspended because of Dardashtian’s

inaction and negligence since the two accounts (Gitman’s and Plumburs’) were linked; Gitman

had spent the last 18 years developing a perfect rating for his personal eBay account. Gitman is

now unable to buy or sell any items on eBay due to Dardashtian’s lack of basic eBay account

management. Gitman’s professional reputation with eBay was further damaged with the loss of

his preferred access status.

                    Dardashtian Fails to Fulfill Promises to the Developers

        46.    In August 2015, it was also agreed by Dardashtian and Gitman that both

Glukharev and Bagaiev deserved increases in compensation in connection with their work for

NDAP.


                                               29
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 30 of 48



       47.     After Gitman returned from his trip to the Ukraine in the fall of 2015 and spoke

with Dardashtian, they both explained to the Developers that they were in a tough financial

situation because of their auto parts business, so they offered the Developers an opportunity to

participate as owners (five percent (5%) for Bagaiev and two and a half percent (2.5%) for

Glukharev) in a proposed joint venture business that CSV and Gitman planned to create. The

by-product of that joint venture was the ChannelReply platform and products described above.

       48.     Specifically, CSV would have a 50% ownership interest in the joint venture and

the other 50% would be owned by the development team, which, at the time, consisted of

Gitman, Bagaiev and Glukharev. As set forth above, Bagaiev would own 5% and Glukarev

would own 2.5% of the joint venture. The remaining 42.5% would be held by Gitman and he

could offer equity from that remaining 42.5% to any additional developers he needed to hire to

expand the ChannelReply platform and products.

       49.     Dardashtian confirmed Bagaiev’s co-ownership in the ChannelReply joint venture

in an e-mail. Attached hereto as Exhibit A is a true and correct copy of Dardashtian’s e-mail to

Bagaiev offering a 5% equity stake in the proposed ChannelReply joint venture.

       50.     Upon information and belief, Dardashtian sent a similar e-mail to Glukharev

confirming his 2.5% co-ownership in the proposed ChannelReply joint venture.

       51.     Upon information and belief, in or about the fall of 2015, the Developers agreed

to their participation in the proposed ChannelReply joint venture both orally and in Skype

messages.

       52.     As part of the joint venture, it was Dardashtian’s responsibility to set up a legal

entity for the ChannelReply business that provided the Developers with the agreed upon

ownership interests.




                                                 30
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 31 of 48



       53.      As of June 2016, Dardashtian had failed to do that. As a result, in June 2016,

Bagaiev once again expressed his concerns about his future with the ChannelReply business to

Dardashtian since he had not yet received confirmation that the promised legal entity had been

set up. Upon information and belief, during the course of the following year, Bagaiev, continued

to express his frustrations to Dardashtian.

       54.      To date, Dardashtian has refused to execute the necessary documentation to

effectuate the promised shares to the Developers. Dardashtian’s failure to adhere to the

agreements with the Developers damaged both Gitman’s and CSV’s relationships with the

Developers.

              Dardashtian Fraudulently Executed Documents on Gitman’s Behalf

       55.      Upon information and belief, Dardashtian forged Gitman’s signature on a number

of corporate documents, including, without limitation, a proposed “Work Order” between NDAP

and Bagaiev dated January 1, 2016 and NDA Holding, LLC debt instruments dated June 9, 2015.

       56.      Upon information and belief, Dardashtian forged Gitman’s signature on another

proposed “Work Order” by placing Gitman’s electronic signature on the document without

Gitman’s authorization. A copy of the “Work Order,” dated January 1, 2016, on which

Dardashtian placed Gitman’s signature is attached hereto as Exhibit B.

       57.      Upon information and belief, Dardashtian acknowledged this forgery to Bagaiev

during an online skype conversation on January 29, 2016. A true and correct copy of

Dardashtian and Bagaiev’s January 29, 2016 skype conversation is attached hereto as Exhibit C.

       58.      Upon information and belief, because Bagaiev knew it was a forged document, he

never executed it.




                                                31
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 32 of 48



   Dardashtian Breached his Fiduciary Duties to the Counterclaim Plaintiff Entities By
   Misappropriating Confidential and/or Proprietary Information Belonging to Those
                                       Entities

       59.     Upon information and belief, beginning in or about February 2016, Dardashtian

began to maintain employment positions outside of CSV and NDAP.

       60.     Upon information and belief, from on or about February 10, 2016 through

approximately August 9, 2016, Dardashtian worked for ChargePass, a company which focused

on payment technology for the cannabis industry.

       61.     In addition, upon information and belief, from about October 31, 2016 to the

present, Dardashtian has worked full-time as the Head of Sales for a company named Yotpo, Ltd.

(“Yotpo”).

       62.     Yotpo competes with ChannelReply’s products, as it markets itself as a marketing

content solution and generates reviews, ratings, questions and answers for eCommerce websites.

       63.     Upon information and belief, Dardashtian has disclosed confidential and/or

proprietary information belonging to the ChannelReply joint venture in connection with his work

for Yotpo. For example, Gitman and the Developers previously developed a feedback

management feature for the ChannelReply products. Upon information and belief, soon after

Dardashtian joined Yotpo, Yotpo developed a similar feature.

       64.     Upon information and belief, Dardashtian has also misappropriated confidential

customer information belonging to the ChannelReply joint venture. Upon information and

belief, as many as 225 ChannelReply customers may have been brought to Yotpo by

Dardashtian. At least 15 ChannelReply customers became first-time Yotpo customers soon after

Dardashtian officially started working at Yotpo.

       65.     By letter dated August 3, 2017, counsel for Gitman placed Yotpo on notice of

Dardashtian’s continuing obligations of confidentiality regarding customer lists, processes and


                                               32
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 33 of 48



designs and requested that Yotpo ensure that Dardashtian cease and desist from using “for any

purposes whatsoever” confidential information of CSV. To date, Yotpo has failed to confirm its

compliance with this request. A true and correct copy of the August 3, 2017 letter to Yotpo is

attached hereto as Exhibit D.

       66.     Furthermore, Dardashtian’s work for Yotpo has had a negative effect on CSV,

NDAP, and ChannelReply since Dardashtian is no longer devoting a substantial amount of time

and attention to CSV or NDAP on a regular basis. In fact, since Dardashtian started working at

Yotpo, he has had little to no involvement with CSV, NDAP, or ChannelReply and his

involvement has been limited to sporadic accounting and finance matters.

       67.     Upon information and belief, Dardashtian also improperly provided confidential

and/or proprietary information belonging to the ChannelReply joint venture to another

competitive company called Volo Commerce.

       68.     Upon information and belief, on or about November 7, 2016, Dardashtian

provided a confidential and proprietary presentation deck which detailed how the ChannelReply

product lines work to Volo Commerce without first obtaining a non-disclosure agreement. Volo

Commerce is now competing with the ChannelReply product line.

       69.     Additionally, upon information and belief, Dardashtian allowed a personal

conflict of interest to interfere with the execution of his duties to the ChannelReply platform.

Upon information and belief, Dardashtian sought to divert resources from established

ChannelReply product lines to the development of a Desk.com integration product because, upon

information and belief, he was seeking an offer of employment from Salesforce, which owns

Desk.com.




                                                 33
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 34 of 48



                    Dardashtian has Refused to Consent to an Accounting

       70.     Upon information and belief, as head of finance for CSV, Dardashtian maintained

poor accounting practices, including, without limitation, failing to maintain separate business

accounts.

       71.     In his capacity as head of finance for CSV, Dardashtian improperly paid expenses

related to the ChannelReply joint venture through other bank accounts including, without

limitation, the NDAP and CSV bank accounts.

       72.     As CSV and its related businesses began to grow, Gitman requested an

accounting to gauge how well the business was performing.

       73.     Gitman first requested an accounting from Frayman on November 1, 2016 after

noticing that Dardashtian had not been keeping the financial books of CSV up to date for some

time and had comingled the accounts.

       74.     However, Dardashtian blocked Frayman from providing Gitman with the

requested accounting. This caused Gitman to become concerned that he and Dardashtian were

not receiving equal distributions and/or expense payments.

       75.     On January 23, 2017, Gitman requested that Fraymen provide him with

Administrator access to the company’s accounting software.

       76.     That same day, Frayman asked Dardashtian to approve Gitman’s request.

Dardashtian did not approve Gitman’s request for Administrator access to the company’s

accounting software.

       77.     Gitman then retained a bookkeeper, Mary Faith Adan (“Adan”), to perform a

review of the books and records of the businesses. However, Dardashtian repeatedly refused to

cooperate with her. Specifically, on March 18, 2017, Adan sent Dardashtian an e-mail asking

questions about charges incurred on Dardashtian’s corporate credit card to determine whether the


                                                34
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 35 of 48



expenses were “Personal or Business.” On March 20, Dardashtian replied that he was travelling

and would take a look when he returned. Not hearing back from Dardashtian, on April 2, Adan

sent Dardashtian a follow-up e-mail. On April 3, Dardashtian replied asking Adan to resend the

file with questioned expenses. Adan resent the file that same day. Later that day, on April 3,

Dardashtian asked to schedule a call with Adan. A call was then scheduled for April 7, 2017.

However, subsequently, Dardashtian proceeded to reschedule the call four (4) separate times.

On April 14, 2017, Adan e-mailed Dardashtian suggesting that the call take place the following

Monday and never heard back from Dardashtian.

       78.     Upon information and belief, Dardashtian improperly had CSV pay out at least

tens of thousands of dollars in family health care expenses for himself, while Gitman did not

receive equivalent payments as an equal co-owner of CSV.

       79.     Upon information and belief, Dardashtian has taken other distributions from the

companies’ bank accounts without informing Gitman.

       80.     From in or about November 2011 to February 2016, Dardashtian and Gitman

received compensation for their work for CSV. However, since an accounting was never

performed, Gitman does not know if he and Dardashtian received equal compensation for the

work they performed during this time.

       81.     Since February 2016, Gitman has not received any compensation for the work he

has performed for CSV or any of its related entities and businesses.

       82.     Upon information and belief, after February 2016, Dardashtian continued to make

payments to himself through the CSV bank account.




                                               35
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 36 of 48



                                    FIRST COUNTERCLAIM

      (BREACH OF FIDUCIARY DUTY AGAINST DARDASHTIAN BY GITMAN)

        83.     Gitman repeats and realleges each and every allegation set forth above as if set

forth at length herein.

        84.     Dardashtian and Gitman are the sole members of CSV.

        85.     As a member of CSV, at all relevant times, Dardashtian has owed various

fiduciary duties to Gitman (a 50% owner and member) to conduct himself and discharge his

duties and responsibilities in good faith, loyally, and fairly.

        86.     The aforesaid misconduct by Dardashtian constitutes numerous breaches of the

fiduciary duties he owed to Gitman.

        87.     Gitman has been injured by Dardashtian’s breaches in an amount to be

determined at trial, but believed to be not less than $500,000.

        88.     As a result of Dardashtian’s breaches of his fiduciary duties owed to Gitman,

Gitman is also entitled to an award of punitive damages in an amount to be determined at trial.

                                  SECOND COUNTERCLAIM

  (BREACH OF FIDUCIARY DUTY AGAINST DARDASHTIAN BY CSV AND NDAP)

        89.     CSV and NDAP repeat and reallege each and every allegation set forth above as if

set forth at length herein.

        90.     At all relevant times, Dardashtian was a manager of CSV and NDAP.

        91.     In that capacity, at all relevant times, Dardashtian has owed fiduciary duties to

CSV and NDAP to conduct himself and discharge his duties and responsibilities in good faith,

loyally, and fairly.

        92.     The aforesaid misconduct by Dardashtian constitutes numerous breaches of the

fiduciary duties he owed to CSV and NDAP.


                                                  36
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 37 of 48



       93.     CSV and NDAP have been injured by Dardashtian’s breaches in an amount to be

determined at trial, but believed to be not less than $2,000,000.

       94.     As a result of Dardashtian’s breaches of his fiduciary duties owed to CSV and

NDAP, CSV and NDAP are also entitled to an award of punitive damages in an amount to be

determined at trial.

                                  THIRD COUNTERCLAIM

          (BREACH OF CONTRACT AGAINST DARDASHTIAN BY GITMAN)

       95.     Gitman repeats and realleges each and every allegation set forth above as if set

forth at length herein.

       96.     Gitman and Dardashtian are each parties to the CSV Operating Agreement dated

August 13, 2011 (the “CSV Operating Agreement”). As set forth in detail above, Dardashtian

has breached his obligations to Gitman under the CSV Operating Agreement.

       97.     Among the obligations set forth in the CSV Operating Agreement, Section 12.2 of

that agreement provides that Dardashtian and Gitman shall not publish communicate, divulge,

disclose, disseminate or otherwise reveal to any person or entity, or use for any purpose

whatsoever any Confidential Information belonging to the entity. “Confidential Information” is

defined as any of the entity’s “processes, data, designs, compilations of information, financial

data, salary information, policies and procedures, sales know-how or any other information that

may be considered to be proprietary or a trade secret of the Company, whether or not such

information is considered a trade secret within the meaning of applicable law.”

       98.     Upon information and belief, Dardashtian has used Confidential Information of

CSV, including, without limitation, customer lists and product development information, in

connection with his employment with Yotpo in breach of the CSV Operating Agreement.




                                                37
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 38 of 48



       99.       Dardashtian’s breaches of the CSV Operating Agreement have caused significant

damage to Gitman.

       100.      As a result, Gitman is entitled to damages in an amount to be determined at trial.

                                  FOURTH COUNTERCLAIM

    (TORTIOUS INTERFERENCE WITH CONTRACT AGAINST DARDASHTIAN)

       101.      Gitman repeats and realleges each and every allegation set forth above as if set

forth at length herein.

       102.      As set forth above, Gitman and CSV intended to enter into a joint venture with the

Developers concerning the ChannelReply platform and suite of products.

       103.      Following the offer and acceptance to form the joint venture among those parties,

Dardashtian, as co-manager of CSV, was tasked with preparing the necessary paper work setting

forth Gitman’s, CSV’s, and the Developer’s respective ownership interests in the ChannelReply

joint venture.

       104.      Notwithstanding Dardashtian’s confirmation that the paperwork would be created,

Dardashtian intentionally failed to create the necessary paperwork outlining the joint venture

ownership rights in accordance with the parties’ agreement.

       105.      Instead, Dardashtian prepared an operating agreement that gave himself a 50%

ownership interest in the joint venture as opposed to the 25% interest he was entitled to under the

agreement. Dardashtian did this by having the ChannelReply platform set up as a wholly owned

subsidiary of CSV. Gitman refused to execute the operating agreement proposed by Dardashtian

as it did not reflect the joint venture agreed upon.

       106.      Dardashtian’s aforesaid malicious and wrongful conduct was intended to and did

interfere with the joint venture agreement.




                                                  38
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 39 of 48



       107.    Gitman has been injured as a proximate result of Dardashtian’s tortious

interference with the joint venture agreement.

       108.    Gitman has been injured by Dardashtian’s tortious interference with contract in an

amount to be determined at trial.

       109.    As a result of Dardashtian’s tortious interference with contract, Gitman is also

entitled to an award of punitive damages in an amount to be determined at trial.

                                    FIFTH COUNTERCLAIM

  (TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE
                      AGAINST DARDASHTIAN)

       110.    Gitman repeats and realleges each and every allegation set forth above as if set

forth at length herein.

       111.    As set forth above, Gitman and CSV intended to enter into a joint venture with the

Developers to expand the ChannelReply platform and product lines.

       112.    As set forth above, Dardashtian, as co-manager of CSV (one of the parties to the

joint venture), intentionally mislead the Developers and betrayed their trust causing damage to

the relationship between the Developers, Gitman and CSV.

       113.    Because of the damage caused by Dardashtian to the relationship among the

parties to the joint venture, the ChannelReply platform and product lines were not properly

expanded and Gitman lost out on considerable revenue and marketplace exposure.

       114.    Dardashtian’s aforesaid malicious and wrongful conduct was intended to and did

interfere with Gitman’s prospective economic advantage.

       115.    Gitman has been injured as a proximate result of Dardashtian’s tortious

interference with his prospective economic advantage in the ChannelReply platform and

products.



                                                 39
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 40 of 48



       116.    Gitman has been injured by Dardashtian’s tortious interference in an amount to be

determined at trial.

       117.    As a result of Dardashtian’s tortious interference, Gitman is also entitled to an

award of punitive damages in an amount to be determined at trial.

                                  SIXTH COUNTERCLAIM

  (UNJUST ENRICHMENT AND THE IMPOSITION OF A CONSTRUCTIVE TRUST
                      AGAINST DARDASHTIAN)

       118.    Gitman repeats and realleges each and every allegation set forth above as if set

forth at length herein.

       119.    Dardashtian, in taking unequal distributions and/or expense payments from CSV

as compared to Gitman, knowingly obtained unfair benefits.

       120.    Dardashtian’s receipt of these unequal benefits without distributing equal benefits

to Gitman is inequitable.

       121.    Additionally, Dardashtian directed all income received from the ChannelReply

platform to CSV’s bank account. However, the parties to the ChannelReply joint venture entered

into an oral constructive trust regarding the ownership interest of the ChannelReply platform. It

was agreed by the parties to the joint venture that even though CSV was not the sole owner of

the ChannelReply platform, that until a ChannelReply bank account was separately set up by the

joint venture, that the income from the ChannelReply platform would be held by CSV in its bank

account.

       122.    However, as set forth above, Dardashtian has unjustly sought to claim that the

ChannelReply platform income belongs to CSV in its entirety in order to unjustly enrich himself.

       123.    As a result of Dardashtian’s unjust enrichment regarding the mismanagement of

CSV financials including, without limitation, unequal disbursement and/or expense payments to



                                                40
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 41 of 48



himself, Dardashtian should compensate Gitman for the value of distributions and benefits he

received above that which Gitman received as an equal co-owner and co-manager of CSV.

       124.    A constructive trust should also be imposed in favor of the joint venture on all

moneys received and/or due the joint venture as a result of the constructive trust agreement

regarding the income of the ChannelReply platform.

                                SEVENTH COUNTERCLAIM

       (DECLARATORY JUDGMENT AGAINST DARDASHTIAN BY GITMAN)

       125.    Gitman repeats and realleges each and every allegation set forth above as if set

forth at length herein.

       126.    All of the skills and expertise that Gitman brought to CSV were based on his

decades of experience in the eCommerce industry. By contrast, Dardashtian had no exposure to

the eCommerce industry prior to his involvement with CSV, NDAP, and ChannelReply.

       127.    Gitman has no agreement that restricts his ability to utilize either the source code

or customer data utilized by ChannelReply. Furthermore, that information is neither confidential

nor proprietary to the ChannelReply product or any of the entities, for the following reasons:

       a.      None of the data or code at issue constitutes a protectable trade secret and/or

confidential information.

       b.      At its most basic form, ChannelReply is a “store and forward messaging system.”

“Store and forward” is a telecommunications technique in which information (eBay or Amazon

messages) is sent to an intermediate station (ChannelReply) where it is kept and sent at a later

time to the final destination (Zendesk, Desk.com or Freshdesk).

       c.      The most well-known store and forward system is email. It is very common for

an email system to accept a message, store it and then forward it on elsewhere. Although fully

open mail relays are no longer common (because of the rise of unsolicited bulk email, aka


                                                41
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 42 of 48



SPAM), not only does simple server-based forwarding work this way, but also do many email

filtering and automated electronic mailing lists services.

       d.      Store and forward predates the use of computers. Prior to computers, point-to-

point teleprinter equipment was used to send messages which were stored at the receiving end on

punched paper tape at a relay center. A human operator at the center removed the message tape

from the receiving machine, read the addressing information, and then sent it toward its

destination on an appropriate outbound point-to-point teleprinter link. If the outbound link was

in use, the operator placed the message in tape in a physical queue, usually consisting of a set of

clips or hooks. A major relay center in the mid-1900s might have dozens of inbound and

outbound teleprinters, scores of operators, and thousands of messages in the queues during peak

periods. Operators referred to these centers as “torn-tape relay centers,” a reference to removing

the received message from the inbound teleprinter by tearing the paper tape to separate one

message from the next. The U.S. military term for such a center was “Non-Automated Relay

Center” (NARC).

       e.      Since ChannelReply utilizes a 70 year old store and forward system, there has

been no effort to construct and refine any algorithms to distinguish the product from the

competition. Simply, it is a known and longstanding communication channel, which does not

require the creation or use of any trade secret technology.

       f.      Below is a basic topology of a message passing through ChannelReply:

       eBay / Amazon <-> ChannelReply <-> Zendesk / Desk.com / Freshdesk

       g.      This diagram illustrates how messages that originate on a marketplace like eBay

or Amazon are relayed through ChannelReply to a Customer Relationship Management (CRM)




                                                 42
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 43 of 48



platform like Zendesk, Desk.com, or Freshdesk. Replies from a CRM are then relayed back to

the marketplace.

       h.     An eCommerce merchant can build a similar software to respond to their

customers on eBay or Amazon for about $2,500 plus operational and administrative costs.

However, for many companies, it may be more cost efficient to use ChannelReply for $39/month

rather than spending the time and money to build their own.

       i.     Any algorithms used by ChannelReply are publicly described on ChannelReply's

website, blog posts, explainer videos, publicly accessible help center, and YouTube videos.

       128.   In addition, there is currently no agreement which restricts Gitman’s ability to

compete against CSV, NDAP, and/or the ChannelReply joint venture.

       129.   In fact, the parties’ agreements specifically permit Gitman and Dardashtian to

engage in other competitive business ventures. Specifically, paragraph 12.1 of the CSV

Operating Agreement states:

              Competitive Undertakings. Except as otherwise provided herein,
              any Member and Management may engage in business ventures of
              any nature and description independently or with others, including,
              but not limited to, business of the character described in Article 3
              (or any part thereof), and neither the Company nor any of the
              Members shall have any rights in or to such independent ventures
              of the income or profits derived therefrom.

       130.   Accordingly, Gitman is entitled to a declaratory judgment that he is free to own

and/or work for any entity which competes with CSV and/or its related entities as long as he

does not utilize CSV’s Confidential Information (as defined in paragraph 12.2 of the CSV

Operating Agreement) to do so.




                                               43
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 44 of 48



                                  EIGHTH COUNTERCLAIM

       (RECORDS PURSUANT TO NY LLC L § 1102 AGAINST DARDASHTIAN)

       131.    Gitman repeats and realleges each and every allegation set forth above as if set

forth at length herein.

       132.    Based on Dardashtian’s various breaches of his fiduciary duties as set forth in

detail above, Gitman requires an accounting of CSV and CSV’s related entities.

       133.    In accordance with NY LLC L § 1102(b), this Court should Order that

Dardashtian make available to Gitman all records, including, without limitation, financial

statements and income tax returns or information and reports maintained by CSV and/or the

related entities for the three most recent fiscal years, and any other information regarding the

affairs of CSV and the related entities as is just and reasonable.

                                   NINTH COUNTERCLAIM

    (DECLARATORY JUDGMENT THAT CHANNEL REPLY IS OWNED BY CSV,
            GITMAN INDIVIDUALLY, AND THE DEVELOPERS)

       134.    Gitman repeats and realleges each and every allegation set forth above as if set

forth at length herein.

       135.    Gitman and the Developers developed the ChannelReply platform.

       136.    Gitman was responsible for the product and infrastructure and Bagaiev was

responsible for coding. Dardashtian was not responsible for any of the growth of the

ChannelReply product or the successful implementations of the product.

       137.    Dardashtian made no contributions which contributed to the growth of the

ChannelReply product in a material way.




                                                 44
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 45 of 48



       138.    Because of the Developers work on ChannelReply, in August 2015, it was agreed

that both Glukharev and Bagaiev deserved salary increases in connection with their employment

for NDAP.

       139.    Instead of a salary increase, in the fall of 2015, Gitman and Dardashtian offered

the Developers a share in the new ChannelReply business that was to be formed. Bagaiev was

offered five percent (5%) and Glukharev was offered two and a half percent (2.5%). As set forth

above, they each accepted this offer.

       140.    Dardashtian failed to properly form the ChannelReply business and give the

appropriate ownership interests to the Developers and to Gitman, as they were the only persons

who made positive contributions to ChannelReply.

       141.    To date, Dardashtian has refused to execute the necessary documentation to

effectuate the promised shares to the Developers and to Gitman.

       142.    The appropriate equity interests are: CSV owns 50%, Gitman, individually, owns

42.5%, Bagaiev owns 5%, and Glukarev owns 2.5%.

       143.    Dardashtian’s failure to adhere to the agreements with the Developers has

damaged both Gitman’s and the companies' relationships with the Developers as well as

Gitman’s interest in ChannelReply.

       144.    Gitman is entitled to a declaratory judgment that the ownership interests in any

ChannelReply business are: CSV owns 50%, Gitman, individually, owns 42.5%, Bagaiev owns

5%, and Glukarev owns 2.5%.




                                                45
    Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 46 of 48



Dated: December 12, 2017
       New York, New York
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                                        46
     Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 47 of 48



                                       JURY DEMAND

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff

Counterclaimants hereby demand a trial by jury on all issues so triable.


Dated: December 12, 2017
       New York, New York
                                             DENTONS US LLP

                                             By: _/s/ Brian S. Cousin
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                                                47
        Case 1:17-cv-04327-LLS-RWL Document 72 Filed 12/13/17 Page 48 of 48



                                     CERTIFICATE OF SERVICE

            I hereby certify that on December 12, 2017, I electronically filed the Answer and

Counterclaims on behalf of Defendants and Counterclaim Plaintiffs David Gitman, Cooper

Square Ventures, LLC, ChannelReply, Inc. and NDAP, LLC with the Clerk of Court using the

CM/ECF system which will automatically send e-mail notification of such filing to all attorneys

of record.


                                                 /s/ Brian S. Cousin__

Dated: New York, New York
       December 12, 2017


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                                                   48
